Case 2:10-cv-05049-MMB Document 1 Filed 09/27/10 Page 1 of 25
Case 2:10-cv-05049-MMB Document 1 Filed 09/27/10 Page 2 of 25
Case 2:10-cv-05049-MMB Document 1 Filed 09/27/10 Page 3 of 25
Case 2:10-cv-05049-MMB Document 1 Filed 09/27/10 Page 4 of 25
Case 2:10-cv-05049-MMB Document 1 Filed 09/27/10 Page 5 of 25
Case 2:10-cv-05049-MMB Document 1 Filed 09/27/10 Page 6 of 25
Case 2:10-cv-05049-MMB Document 1 Filed 09/27/10 Page 7 of 25
Case 2:10-cv-05049-MMB Document 1 Filed 09/27/10 Page 8 of 25
Case 2:10-cv-05049-MMB Document 1 Filed 09/27/10 Page 9 of 25
Case 2:10-cv-05049-MMB Document 1 Filed 09/27/10 Page 10 of 25
Case 2:10-cv-05049-MMB Document 1 Filed 09/27/10 Page 11 of 25
Case 2:10-cv-05049-MMB Document 1 Filed 09/27/10 Page 12 of 25
Case 2:10-cv-05049-MMB Document 1 Filed 09/27/10 Page 13 of 25
Case 2:10-cv-05049-MMB Document 1 Filed 09/27/10 Page 14 of 25
Case 2:10-cv-05049-MMB Document 1 Filed 09/27/10 Page 15 of 25
Case 2:10-cv-05049-MMB Document 1 Filed 09/27/10 Page 16 of 25
Case 2:10-cv-05049-MMB Document 1 Filed 09/27/10 Page 17 of 25
Case 2:10-cv-05049-MMB Document 1 Filed 09/27/10 Page 18 of 25
Case 2:10-cv-05049-MMB Document 1 Filed 09/27/10 Page 19 of 25
Case 2:10-cv-05049-MMB Document 1 Filed 09/27/10 Page 20 of 25
Case 2:10-cv-05049-MMB Document 1 Filed 09/27/10 Page 21 of 25
Case 2:10-cv-05049-MMB Document 1 Filed 09/27/10 Page 22 of 25
Case 2:10-cv-05049-MMB Document 1 Filed 09/27/10 Page 23 of 25
Case 2:10-cv-05049-MMB Document 1 Filed 09/27/10 Page 24 of 25
Case 2:10-cv-05049-MMB Document 1 Filed 09/27/10 Page 25 of 25
